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Counsel for Movants

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                               )   Case No. 19-34054-sgj-11
                                                         )
    Highland Capital Management, L.P.,                   )   Chapter 11
                                                         )
              Debtor.                                    )
                                                         )

             AMENDED RENEWED MOTION TO RECUSE PURSUANT TO 28 U.S.C. § 455

             James Dondero, Highland Capital Management Fund Advisors, L.P., NexPoint Advisors,

L.P., The Dugaboy Investment Trust, The Get Good Trust, and NexPoint Real Estate Partners,

LLC, f/k/a HCRE Partners, LLC, a Delaware limited liability company (collectively, “Movants”)

file this Amended Renewed Motion to Recuse (the “Motion”) Pursuant to 28 U.S.C. § 4551 and

would, in support thereof, respectfully show the Court as follows:

1.           This Motion is necessary because the Court denied a prior motion by Movants to

supplement the record in support of their original motion to recuse, making it impossible for

Movants to have all evidence of the Court’s bias considered on appeal.

2.           As previously asserted, the Court has essentially acknowledged that it has formed negative

opinions of Mr. Dondero in a prior bankruptcy; those opinions have carried into this bankruptcy;

and, despite best efforts, the Court has been unable to extricate those opinions from its mind.


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    28 U.S.C. § 455 has been made applicable to bankruptcy judges under FED. R. BANKR. P. 5004.


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Moreover, the record in this bankruptcy reflects that the Court’s negative opinions of Mr. Dondero

have resulted in, if not actual bias against Movants, the undeniable perception of bias against them

that impair the ability of Movants to preserve their legal rights. And while the Court previously

suggested that Movants sought recusal too late, that suggestion is misguided, because the Court

continues to preside over several proceedings involving Movants, and because the Court’s bias

continues to pervade all proceedings before it. For the reasons set forth above and in the Movants’

Amended Memorandum of Law in Support of Renewed Motion to Recuse, which is incorporated

by reference as if fully set forth herein, Movants respectfully request that their Motion be granted. In

the alternative, Movants hereby request that the Court make clear that any order denying recusal is

final, so that Movants may appeal the Court’s order to the Northern District of Texas.

Dated: October 17, 2022                                Respectfully submitted,

                                                       CRAWFORD, WISHNEW & LANG PLLC

                                                       By: /s/ Michael J. Lang
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                                                       Counsel for Movants



                                  CERTIFICATE OF SERVICE

       The undersigned certifies that on October 17, 2022, a true and correct copy of the above
and foregoing document was served on all parties and counsel set to receive notice by the Court’s
ECF system.

                                                       /s/ Michael J. Lang ________
                                                       Michael J. Lang



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